                  EXHIBIT B
  9/11/2015 Opinion of In re Clayton Grossman,
   Case No. 14-21767-C-13 at the United States
  Bankruptcy Court for the Eastern District of
                   California




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